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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S-04-0104 DFL
                                   )
12                  Plaintiff,     )           FINAL ORDER OF FORFEITURE
                                   )
13             v.                  )
                                   )
14   ROBERTO ORANTES,              )
       aka Raphael Sanchez         )
15     Arreguin, aka "Mario,"      )
                                   )
16                  Defendant.     )
     ______________________________)
17
18        WHEREAS, on October 11, 2005, this Court entered a Preliminary
19   Order of Forfeiture pursuant to the provisions of 21 U.S.C. § 853(a)
20   based upon the plea agreement entered into between plaintiff and
21   defendant Roberto Orantes forfeiting to the United States the
22   following property:
23             a.     Approximately $82,827.00 in U.S. Currency, seized
                      on or about March 8, 2004; and
24
               b.     Approximately $2,657.00 in U.S. Currency seized
25                    on or about March 8, 2004.
26        AND WHEREAS, the Preliminary Order of Forfeiture became final
27   as to defendant Roberto Orantes on or about March 1, 2007.
28        AND WHEREAS, on December 15, 22, and 29, 2005, the United

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 1   States published notice of the Court's Preliminary Order of
 2   Forfeiture in the Daily Recorder (Sacramento County), a newspaper of
 3   general circulation located in the county in which the subject
 4   property was seized.    Said published notice advised all third
 5   parties of their right to petition the court within thirty (30) days
 6   of the publication date for a hearing to adjudicate the validity of
 7   their alleged legal interest in the forfeited property;
 8        AND WHEREAS, the United States has provided direct written or
 9   attempted notice to Kirsten Sweeney, Victor Manuel Olivares,
10   Margarita Aldana, Hugo Olivares, and Secundino Olivares;
11        AND WHEREAS, the Court has been advised that no third party has
12   filed a claim to the subject property, and the time for any person
13   or entity to file a claim has expired.
14        Accordingly, it is hereby ORDERED and ADJUDGED:
15        1.   A Final Order of Forfeiture shall be entered forfeiting to
16   the United States of America all right, title, and interest in the
17   above-listed property pursuant to 21 U.S.C. § 853(a), to be disposed
18   of according to law, including all right, title, and interest of
19   Roberto Orantes.
20        2.   All right, title, and interest in the above-listed property
21   shall vest solely in the United States of America.
22        3.   The United States Marshals Service shall maintain custody
23   of and control over the subject property until it is disposed of
24   according to law.
25        SO ORDERED THIS 2nd day of April, 2007.
26
27                                     /s/ David F. Levi
                                       DAVID F. LEVI
28                                     Chief United States District Judge

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